Case 2:10-md-02179-CJB-DPC Document 8963-27 Filed 03/20/13 Page 1 of 12




                   Exhibit 12B
Case 2:10-md-02179-CJB-DPC Document 8963-27 Filed 03/20/13 Page 2 of 12
Case 2:10-md-02179-CJB-DPC Document 8963-27 Filed 03/20/13 Page 3 of 12
Case 2:10-md-02179-CJB-DPC Document 8963-27 Filed 03/20/13 Page 4 of 12
Case 2:10-md-02179-CJB-DPC Document 8963-27 Filed 03/20/13 Page 5 of 12
Case 2:10-md-02179-CJB-DPC Document 8963-27 Filed 03/20/13 Page 6 of 12
Case 2:10-md-02179-CJB-DPC Document 8963-27 Filed 03/20/13 Page 7 of 12
Case 2:10-md-02179-CJB-DPC Document 8963-27 Filed 03/20/13 Page 8 of 12
Case 2:10-md-02179-CJB-DPC Document 8963-27 Filed 03/20/13 Page 9 of 12
Case 2:10-md-02179-CJB-DPC Document 8963-27 Filed 03/20/13 Page 10 of 12
Case 2:10-md-02179-CJB-DPC Document 8963-27 Filed 03/20/13 Page 11 of 12
Case 2:10-md-02179-CJB-DPC Document 8963-27 Filed 03/20/13 Page 12 of 12
